                          Case 20-10091-mkn                          Doc 16   Entered 01/29/20 16:47:49                         Page 1 of 5


 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              ELON LOUIS WILLIAMS
 Debtor 2              PRINCESS SHEBA STALLWORTH                                                           1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Nevada
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           20-10091-MKN
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                               0.00      $        4,379.17
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                   Debtor 1            Debtor 2
     Gross receipts (before all
     deductions)                       $                0.00 $        2,006.00
     Ordinary and necessary
     operating expenses               -$                0.00 -$         650.33
     Net monthly income from a                                                  Copy
     business, profession, or farm     $                0.00 $        1,355.67 here -> $                                0.00      $        1,355.67
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                           $    0.00
        Ordinary and necessary operating expenses                        -$   0.00
        Net monthly income from rental or other real property            $    0.00 Copy here -> $                       0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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                          Case 20-10091-mkn                          Doc 16   Entered 01/29/20 16:47:49                        Page 2 of 5

 Debtor 1     ELON LOUIS WILLIAMS
 Debtor 2     PRINCESS SHEBA STALLWORTH                                                               Case number (if known)    20-10091-MKN


                                                                                                  Column A                      Column B
                                                                                                  Debtor 1                      Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                    $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $              0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                      0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
               .                                                                              $                      0.00       $           0.00
                                                                                                  $                  0.00       $           0.00
                  Total amounts from separate pages, if any.                                  +   $                  0.00       $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $             0.00       +   $       5,734.84     =   $      5,734.84

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>             $          5,734.84

              Multiply by 12 (the number of months in a year)                                                                                       x 12
       12b. The result is your annual income for this part of the form                                                                12b. $          68,818.08

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   NV

       Fill in the number of people in your household.                        5
       Fill in the median family income for your state and size of household.                                                         13.   $         89,077.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ ELON LOUIS WILLIAMS                                               X /s/ PRINCESS SHEBA STALLWORTH
                ELON LOUIS WILLIAMS                                                     PRINCESS SHEBA STALLWORTH
                Signature of Debtor 1                                                   Signature of Debtor 2

Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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                          Case 20-10091-mkn                          Doc 16   Entered 01/29/20 16:47:49                    Page 3 of 5

 Debtor 1    ELON LOUIS WILLIAMS
 Debtor 2    PRINCESS SHEBA STALLWORTH                                                            Case number (if known)   20-10091-MKN

        Date January 29, 2020                                                     Date January 29, 2020
             MM / DD / YYYY                                                            MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 3
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                          Case 20-10091-mkn                          Doc 16   Entered 01/29/20 16:47:49                    Page 4 of 5

 Debtor 1    ELON LOUIS WILLIAMS
 Debtor 2    PRINCESS SHEBA STALLWORTH                                                            Case number (if known)   20-10091-MKN


                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 07/01/2019 to 12/31/2019.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 4
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                          Case 20-10091-mkn                          Doc 16   Entered 01/29/20 16:47:49                    Page 5 of 5

 Debtor 1    ELON LOUIS WILLIAMS
 Debtor 2    PRINCESS SHEBA STALLWORTH                                                            Case number (if known)   20-10091-MKN

                                           Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 07/01/2019 to 12/31/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Sitel
Year-to-Date Income:
Starting Year-to-Date Income: $22,163.00 from check dated 6/30/2019 .
Ending Year-to-Date Income: $48,438.00 from check dated 12/31/2019 .
Income for six-month period (Ending-Starting): $26,275.00 .
Average Monthly Income: $4,379.17 .



Line 5 - Income from operation of a business, profession, or farm
Source of Income: Self-Uber
Income/Expense/Net by Month:
                         Date                                            Income                         Expense                           Net
 6 Months Ago:                 07/2019                                         $2,060.00                           $570.00                      $1,490.00
 5 Months Ago:                 08/2019                                         $1,686.00                           $530.00                      $1,156.00
 4 Months Ago:                 09/2019                                         $2,075.00                           $735.00                      $1,340.00
 3 Months Ago:                 10/2019                                         $1,833.00                           $489.00                      $1,344.00
 2 Months Ago:                 11/2019                                         $1,850.00                           $508.00                      $1,342.00
 Last Month:                   12/2019                                         $2,532.00                         $1,070.00                      $1,462.00
                     Average per month:                                        $2,006.00                           $650.33
                                                                                           Average Monthly NET Income:                          $1,355.67




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 5
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